               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
                     CRIMINAL DOCKET NO. 5:03CR6-3-V


UNITED STATES OF AMERICA                )
                                        )
                                        )
             vs.                        )               ORDER
                                        )
BAXTER SMITH JAMES                      )
                                        )


      THIS MATTER is before the Court on the Judgment of the Fourth Circuit Court of

Appeals, filed September 6, 2007,1 remanding this case for resentencing.

      IT IS, THEREFORE, ORDERED THAT:

      1)     This matter is hereby scheduled for resentencing on Tuesday, December

             11, 2007, in the Statesville Division;

      2)     The United States Marshal is directed to return Defendant to the Western

             District of North Carolina on or before November 26, 2007; and

      3)     A copy of this Order shall be sent to the Defendant, Defense Counsel, United

             States Attorney, United States Marshall Service, United Stattes Probation

             Office and Courtroom Deputy.



                                            Signed: September 10, 2007




      1
      The mandate issued September 6, 2007.
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